










Opinion issued September 30, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00752–CV




NICOLE (COOPER) LAMBETH, Appellant

V.

YANCEY DEAN COOPER, Appellee




On Appeal from the 245th District Court
Harris County, Texas
Trial Court Cause No. 2001-48927




MEMORANDUM OPINIONAppellant Nicole (Cooper) Lambeth has neither established indigence, nor paid
all the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see also Tex.
Gov’t Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004) (listing fees
in court of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals). 
After being notified that this appeal was subject to dismissal, appellant Nicole Cooper
Lambeth did not adequately respond.  See Tex. R. App. P. 5 (allowing enforcement
of rule); 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Alcala, and Hanks.


